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                         UNITED STATES COURT OF APPEALS
                             FOR THE EIGHTH CIRCUIT

                                            No: 17-3651

                                          Terrance Rabon

                                                      Appellee

                                          Kathleen Rabon

                                                 v.

                              John K. Kimani and Tolyn Express, LLC

                                                      Appellants

                                           John Does 1-6

______________________________________________________________________________

      Appeal from U.S. District Court for the Western District of Arkansas - Texarkana
                                  (4:16-cv-04007-SOH)
______________________________________________________________________________

                                            MANDATE

          In accordance with the judgment of 01/10/2018, and pursuant to the provisions of Federal

Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in the above-styled

matter.

                                                        January 10, 2018




Clerk, U.S. Court of Appeals, Eighth Circuit




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